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                         IN THE UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF TEXAS
                                  LUBBOCK DIVISION

ROBERT DALE TURNBO,                        §
                                           §
       Plaintiff,                          §
                                           §
v.                                         §      Civil Action No. 5:21-cv-00089
                                           §
DALE BRIAN GIBSON, NINE LINE               §
OILFIELD SERVICES, LLC, and                §
OLSON TRANSPORTATION INC.,                 §
                                           §
       Defendants.                         §


                         INDEX OF STATE COURT DOCUMENTS

Filing                                                                  Date Filed
A      Plaintiffs’ Original Petition                                    3/9/21

B      Executed Return of Service on Dale Brian Gibson                  3/31/21

C      Executed Return of Service on Olson Transportation Inc.          4/8/21

D      Docket Sheet                                                     N/A
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                                                                             Filed: 3/9/2021 4:10 PM
                                                                             Accepted: 3/9/2021 4:27 PM
                                                                             Adreana Gonzalez
                                                                             District Clerk
                                                                             Dawson County, Texas
                                                                             Teresa Uresti
                                            21-03-20737
                                     NO. ___________________

ROBERT DALE TURNBO                                  §      IN THE DISTRICT COURT
Plaintiff                                           §
                                                    §
V.                                                  §      106TH JUDICIAL DISTRICT
                                                    §
DALE BRIAN GIBSON, NINE                             §
LINE OILFIELD SERVICES, LLC and                     §
OLSON TRANSPORTATION INC                            §
Defendants.                                         §      DAWSON COUNTY, TEXAS

               PLAINTIFF’S ORIGINAL PETITION AND JURY DEMAND

TO THE HONORABLE JUDGE OF SAID COURT:

        COMES NOW, ROBERT DALE TURNBO, Plaintiff in the above-captioned cause,

and files this, his Original Petition and Jury Demand complaining of DALE BRIAN GIBSON,

NINE LINE OILFIELD SERVICES, LLC and OLSON TRANSPORTATION INC,

Defendants. In support thereof, Plaintiff would respectfully show this Court as follows:

              DISCOVERY CONTROL PLAN & PRELIMINARY STATEMENT

        1.1     Pursuant to Rule 190.1 of the Texas Rules of Civil Procedure, Plaintiff intends

to conduct discovery in this case under Level 3 as outlined in Rule 190.4 of the Texas Rules

of Civil Procedure.

        1.2     This is a case for damages arising from a motor vehicle collision which occurred

on or about March 12, 2019 in Dawson County, Texas, resulting in very serious injuries to the

Plaintiff.

                          PARTIES, JURISDICTION AND VENUE

        2.1     Plaintiff ROBERT DALE TURNBO ("Plaintiff) is a resident of Scurry County,



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and lives at 125 20th PL, Snyder, Scurry County, Texas 79549. The last three digits of his

driver's license number are 900.

       2.2    Defendant DALE BRIAN GIBSON ("Defendant") is an individual residing at 505

N. Lake Ave, Miles City, MT 59301, where service may be had upon Defendant, or at any

location which Defendant DALE BRIAN GIBSON may be found.

       2.3    Defendant NINE LINE OILFIELD SERVICES, LLC is a foreign Limited

Liability Company incorporated in the state of Montana with its principal place of business at

309 Commercial St., Birney, Montana 59012. NINE LINE OILFIELD SERVICES, LLC may

be served through its registered agent as follows:

                                  Logan Sean Olson
                        309 Commercial St., Birney, Montana 59012

       2.4    Defendant OLSON TRANSPORTATION INC. is a foreign corporation with its

principal place of business at 5950 Tongue River Road, Ashland, Montana 59003. OLSON

TRANSPORTATION INC. may be served through its registered agent as follows:

                                    Jamie L. Olson
                    5950 Tongue River Road, Ashland, Montana 59003

       2.7    Plaintiff expressly invokes his right under Rule 28 of the Texas Rules of Civil

Procedure to have the true name of any party substituted at a later time upon the motion of any

party or of the Court. In the event any parties are misnamed or not included herein, such event

was a "misnomer," or such parties are or were "alter-egos" of the parties named herein.




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       2.8        This Court enjoys jurisdiction of this matter, as the amount in controversy is

within the monetary limits of jurisdiction of the District Courts of the State of Texas. Venue is

proper in Dawson County under § 15.002(a)(1) of the TEX. CIV. PRAC. & REM. CODE,

because all or a substantial part of the events or omissions giving rise to this lawsuit occurred

in this county.

       2.9        In satisfaction of TEX. R. CIV. P. 47, Plaintiff affirmatively states that this case

seeks monetary relief over $1,000,000. The amount of monetary relief actually awarded,

however, will ultimately be determined by the wisdom of the jury. This case is exempt from the

expedited actions process of TEX. R. CIV. P. 169. Discovery in this case should be conducted

under Rule 190.4, TEX. CIV. P., by issuance of a level III discovery control plan.

                                     RESPONDEAT SUPERIOR

       3.1        On information and belief of the Plaintiff, Defendant DALE BRIAN GIBSON

was an employee of Defendants NINE LINE OILFIELD SERVICES, LLC, and/or OLSON

TRANSPORTATION INC. and was acting in the course and scope of his employment at the

time of the collision. Therefore, Defendants NINE LINE OILFIELD SERVICES, LLC and/or

OLSON TRANSPORTATION INC. are vicariously liable for the negligence of Defendant

DALE BRIAN GIBSON, and all damages occasioned by that negligence, under the principal

of respondeat superior.

                                                FACTS

       4.1        On March 12, 2019, Plaintiff ROBERT DALE TURNBO was the operator of

a 2017 Chevrolet Silverado C2500 Pickup, traveling westbound on US 180 in Dawson County,


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Texas. Defendant, DALE BRIAN GIBSON, was southbound on FM 178. DALE BRIAN

GIBSON was driving a vehicle owned by NINE LINE OILFIELD SERVICES, LLC and

towing a 2018 trailer owned and/or leased by OLSEN TRANSPORTATION, INC. US 180

is the main thoroughfare and FM 178 is an intersecting road which is controlled by a stop sign

at the intersection. Defendant, DALE BRIAN GIBSON, pulled out in front of Plaintiff resulting

in the collision and resulting injuries and damages sustained by Plaintiff.

         4.3   ROBERT DALE TURNBO was wearing his seatbelt at the time of the collision.

ROBERT DALE TURNBO sustained substantial and permanent injuries and damages as a

proximate result of the collision.

         4.4   As a direct and proximate result of the collision made the basis of this suit,

Plaintiff suffered a traumatic brain injury with a loss of consciousness at the scene of the

accident. In addition, Plaintiff suffered severe and disabling injuries, abdominal distention,

acute respiratory failure, closed fracture of the right distal femur, closed fracture of the L2 and

L3 transverse process, pelvic fracture, pleural effusion, subarachnoid hemorrhage,

intraparenchymal hemorrhage, sinus arrest, splenic laceration, ulnar fracture, superior sternum

fracture and fracture of the 2nd through 8th ribs on the right and the 3rd through 7th ribs on the

left. Plaintiff had multiple medical procedures, and, in all probability, the residual effects of

these injuries will be permanent and life-changing. These injuries have caused Plaintiff a great

amount of physical pain and impairment, lost wages, and other damages as further set forth

below.




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                                   CAUSES OF ACTION

Negligence

        5.1   The negligence of Defendant DALE BRIAN GIBSON was a proximate cause

of the collision in question and Plaintiff’s injuries. DALE BRIAN GIBSON was generally

negligent, including, but not limited to, one or more of the following particulars:

        a.    In failing to use reasonable care to operate his vehicle;

        b.    In failing to maintain a proper lookout while operating his vehicle;

        c.    In failing to control his speed to avoid a collision;

        d.    In failing to timely apply his brakes to avoid the collision;

        e.    In failing to stop and yield at the right of way to Plaintiff’s vehicle;

        f.    In failing to turn his vehicle to the left or the right to avoid a collision; and

        g.    In failing to properly apply his brakes and reduce his speed to avoid a collision.

        5.2   Such negligence was a proximate cause of the incident in question, and the

injuries and damages complained of by the Plaintiff herein.

Negligence per se

        5.3   The actions of Defendant DALE BRIAN GIBSON, in causing the collision in

question and in failing to stop at an official traffic-control device, a stop sign, and grant

immediate use of the intersection to traffic that had the right of way constituted negligence per

se.




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       5.4     Texas Transportation Code § 545.151, states, in relevant part, as follows:
               (a) An operator approaching an intersection:
                     (1)     shall stop, yield, and grant immediate use of the
                             intersection:
                             (A) in obedience to an official traffic-control device, including
                             a stop sign or yield right-of-way sign; or
                             (B)      if a traffic-control signal is present but does not display an
                             indication in any of the signal heads; and
                     (2)     after stopping, may proceed when the intersection can be safely
                     entered without interference or collision with traffic using a different
                     street or roadway.

The violation of this statute by Defendant, DALE BRIAN GIBSON, was unexcused, and the

statute in question is designed to protect motorists traveling the roadways of the state of Texas,

including the class of which Plaintiff was a member. Further, by virtue of the fact that a

collision occurred, and Defendant, DALE BRIAN GIBSON, held a legal duty to stop at said

stop sign, Defendant DALE BRIAN GIBSON is presumed to have failed to stop at said stop

sign. The violation of this statute by Defendant DALE BRIAN GIBSON was a proximate cause

of the collision in question and the Plaintiffs injuries.

                           DAMAGES FOR PERSONAL INJURY

       6.1     As a direct and proximate result of the negligence complained above herein,

Plaintiff sustained personal injuries and damages including past medical expenses. As provided

by Texas law, Plaintiff is entitled to recover the following damages:

       a.      Physical pain and mental anguish sustained in the past and which, in all

               likelihood, will occur in the future;

       b.      Physical impairment sustained in the past and which, in all likelihood, will occur

               in the future;


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        c.      Reasonable and necessary expenses for medical care in the past;

        d.      Reasonable and necessary expenses for medical care which will be required in

                the future;

        e.      Loss of enjoyment of life in the past, and which, in all likelihood, will continue

                into the future; and

        f.      Lost wages in the past and future.

                                           LOST WAGES

        7.1     As a direct and proximate result of the negligence complained above herein,

Plaintiff sustained lost wages and has sustained a diminished earning capacity. As a result of the

injuries sustained, Plaintiff has suffered impairment and has been required to reduce his work

duties since the accident. It is reasonably probable that Plaintiffs physical impairment resulting

from the foregoing injuries is of a lasting nature and that his earning capacity will be diminished

for the balance of his life.

                                          JURY REQUEST

        Plaintiff hereby requests a trial by jury on all issues so triable, and tenders the required fee.

                                              PRAYER

        WHEREFORE, PREMISES CONSIDERED, Plaintiff respectfully requests that

Defendants be cited to appear and answer and that upon final trial Plaintiff recover against

Defendant:

        1.      Compensatory damages as set forth above;

        2.      Pre-judgment and post-judgment interest as allowed by law;

        3.      Costs of court; and

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4.   Such other, further and different relief to which Plaintiff may show himself
     justly entitled.

                                  Respectfully submitted,

                                  MAXWELL & FAHY
                                  Attorneys at Law
                                  202 East Broadway
                                  Sweetwater, Texas 79556
                                  Tel: (325) 236-6691
                                  Fax: (325) 235-8750

                                  By: /s/ Kenneth L. Maxwell, Jr.
                                  Kenneth L. Maxwell, Jr.
                                  State Bar No. 13251300
                                  Attorney for Plaintiff




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                                                          Filed: 3/31/2021 5:27 PM
                                                          Accepted: 4/1/2021 8:29 AM
                                                          Adreana Gonzalez
                                                          District Clerk
                                                          Dawson County, Texas
                                                          Kendrick Conde




                               EXHIBIT B
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                                                          Filed: 4/8/2021 3:40 PM
                                                          Accepted: 4/8/2021 3:43 PM
                                                          Adreana Gonzalez
                                                          District Clerk
                                                          Dawson County, Texas
                                                          Kendrick Conde




                               EXHIBIT C
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  Case Information

     ROBERT DALE TURNBO VS. DALE BRIAN GIBSON NINE LINE OILFIELD SERVICES, LLC
     21-03-20737

           Refresh                                              File Into


     Location                                       Case Category                           Case Type                                    Case Filed Date
     Dawson County - District Clerk                 Civil - Injury or Damage                Motor Vehicle Accident                       3/9/2021




  Parties           4




   Type                                     Name                                                                    Attorneys

   Plaintiff                                                                                                       KENNETH L MAXWELL
                                           TURNBO, ROBERT DALE

   Defendant
                                           NINE LINE OILFIELD SERVICES, LLC

   Defendant
                                           OLSON TRANSPORTATION INC

   Defendant
                                           GIBSON, DALE BRIAN




  Events            3




    Oldest          Search events                                                                                                                            All       All



                                                                                                             File Date
Petition                                                                                                     3/9/2021
Plaintiff's Original Petition and Jury Demand

Name                                            Description                           Security Description               Pages   Price

Original Petition MVA.pdf                       Original Petition MVA.pdf             Does not contain                   8       $0.80                     Available until 4/30/21
                                                                                      sensitive data

                                                                                                             File Date
No Fee Documents                                                                                             3/31/2021
Citation Served on Dale Gibson

Name                                            Description                           Security Description               Pages   Price

Citation and Petition Dale GIbson               Citation and Petition Dale GIbson     Does not contain                   3       $0.30                        Add
served.pdf                                      served.pdf                            sensitive data

                                                                                                             File Date
No Fee Documents                                                                                             4/8/2021
Citation Served on Jamie Olson

Name                                            Description                           Security Description               Pages   Price

Citation and Petition Jamie Olson               Citation and Petition Jamie Olson     Does not contain                   3       $0.30                        Add
served.pdf                                      served.pdf                            sensitive data



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                                                                                    EXHIBIT D
